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 8                       UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
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11   CRISTINA FLORES,                 ) Case No. 2:20-cv-00477-SP
                                      )
12                      Plaintiff,    )
                                      ) JUDGMENT
13                  v.                )
                                      )
14    KILOLO KIJAKAZI, Acting         )
      Commissioner of Social Security )
15    Administration,                 )
                                      )
16                      Defendant.    )
     _____________________________ )
17
18         IT IS HEREBY ADJUDGED that the decision of the Commissioner of the
19 Social Security Administration is REVERSED and this matter REMANDED,
20 pursuant to sentence four of 42 U.S.C. § 405(g) for further administrative
21 proceedings consistent with the court’s Memorandum Opinion and Order filed
22 contemporaneously with the filing of this Judgment.
23
24 Dated: September 30, 2021
25
                                          SHERI PYM
26                                        United States Magistrate Judge
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